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 8                                    UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11       UNITED STATES OF AMERICA,                      No. 1:16-cr-00122-DAD-BAM
12                       Plaintiff,
13            v.                                        ORDER DENYING DEFENDANT FRANCES
                                                        GALVAN’S MOTION TO VACATE, SET
14       FRANCES GALVAN,                                ASIDE, OR CORRECT HER SENTENCE
                                                        PURSUANT TO 28 U.S.C. § 2255
15                       Defendant.
                                                        (Doc. Nos. 338, 352)
16

17

18           Pending before the court is defendant Frances Galvan’s pro se motion to vacate, set aside,

19   or correct her sentence pursuant to 28 U.S.C. § 2255.1 (Doc. No. 338.) The court has considered

20   the parties’ briefing and, for the reasons set forth below, will deny defendant’s motion.

21                                            BACKGROUND

22           On July 28, 2016, defendant Galvan was indicted and charged with one count of

23   conspiracy to distribute and possess with intent to distribute methamphetamine in violation of

24   21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(A)(viii). (Doc. No. 38.) On August 28, 2017, defendant

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       The undersigned apologizes for the delay in the issuance of this order. This court’s
     overwhelming caseload has been well publicized and the long-standing lack of judicial resources
27   in this district has reached crisis proportion. Unfortunately, that situation sometimes results in a
     submitted matter being overlooked for a period of time and that occurred with respect to this
28   motion.
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 1   entered a guilty plea before the undersigned to the sole count alleged in the superseding

 2   information: conspiracy to distribute and possess with intent to distribute methamphetamine in

 3   violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(c). (Doc. No. 174; see also Doc. Nos. 144,

 4   166, 176.) Pursuant to her plea agreement, defendant waived her right to appeal or collaterally

 5   attack her conviction or sentence, except for non-waivable claims. (Doc. No. 144 at 3–4.)

 6   Defendant was represented by counsel during her plea negotiations, the entering of her plea, and

 7   at sentencing. (See Doc. Nos. 144, 174, 206.)

 8           At defendant’s December 11, 2017 sentencing hearing (Doc. No. 206), the court adopted

 9   the sentencing recommendation of the presentence report, noting that the recommendation was

10   consistent with the parties’ plea agreement, and sentenced defendant Galvan to a 57-month term

11   of imprisonment, which was the low end of the applicable advisory guideline range. (Doc. No.

12   347 at 6.)

13           On March 27, 2019, defendant Frances Galvan, proceeding pro se, filed the pending

14   motion to vacate, set aside or correct her sentence brought pursuant to 28 U.S.C. § 2255. (Doc.

15   No. 338.) Therein, defendant contends that she was not of sound mind at or around the time she

16   entered her plea or at the time of her sentencing, her attorneys were ineffective, and the sentence

17   imposed by this court was unduly harsh. (Id. at 4–5.)

18           On April 3, 2019, the court issued an order setting a briefing schedule and directing the

19   government to respond to the pending motion. (Doc. No. 342.)

20           On July 2, 2019, the government filed its response, styled as a “motion to dismiss, partial
21   alternative response, and motion for partial waiver of attorney-client privilege.” (Doc. No. 352.)

22   The court will construe this filing as an opposition to defendant’s § 2255 motion. Therein, the

23   government argues that defendant Galvan’s motion is untimely and even it was timely, the claims

24   she asserts therein fail to state a cognizable claim for relief.2 (See generally id.)

25   /////

26   2
       In the alternative, the government requests that the court find that defendant has waived her
27   attorney-client privilege as to her claims so that it can fully respond to them. (Doc. No. 352 at 9–
     10, 12.) Because the court will deny defendant’s motion to vacate her sentence, the court need
28   not address the government alternative request.
                                                          2
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 1          The court’s order setting a briefing schedule provided defendant Galvan an opportunity to

 2   file a reply to the government’s opposition (Doc. No. 342 at 1) but defendant did not do so.

 3                                          LEGAL STANDARD

 4          Title 28 U.S.C. § 2255 allows a federal prisoner to move the sentencing court to vacate,

 5   set aside, or correct the sentence if he claims the right to be released upon any of the following

 6   four grounds: (1) that the sentence was imposed in violation of the Constitution or laws of the

 7   United States; (2) that the court was without jurisdiction to impose such sentence; (3) that the

 8   sentence was in excess of the maximum authorized by law; or (4) that the sentence is otherwise

 9   subject to collateral attack. 28 U.S.C. § 2255(a); see also United States v. Monreal, 301 F.3d

10   1127, 1130 (9th Cir. 2002).

11          Rule 4 of the Rules Governing Section 2254 and 2255 Cases provides that “[i]f it plainly

12   appears from the petition and any attached exhibits that the petitioner is not entitled to relief in the

13   district court, the judge must dismiss the petition.”

14                                              DISCUSSION

15   A.     Defendant Galvan’s § 2255 Motion is Untimely

16          A one-year statute of limitations applies to all motions filed under § 2255. 28 U.S.C.

17   § 2255(f).

18                  The limitation period shall run from the latest of—
19                  (1) the date on which the judgment of conviction becomes final;
20                  (2) the date on which the impediment to making a motion created by
                    governmental action in violation of the Constitution or laws of the
21                  United States is removed, if the movant was prevented from making
                    a motion by such governmental action;
22
                    (3) the date on which the right asserted was initially recognized by
23                  the Supreme Court, if that right has been newly recognized by the
                    Supreme Court and made retroactively applicable to cases on
24                  collateral review; or
25                  (4) the date on which the facts supporting the claim or claims
                    presented could have been discovered through the exercise of due
26                  diligence.
27   Id. Defendant Galvan does not contend, and it does not appear to the court, that any of the

28   circumstances outlined in § 2255(f)(2)–(4) apply here, thus defendant’s one-year window to file
                                                         3
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 1   the pending motion for relief under § 2255 began on the date on which the judgment of her

 2   conviction became final.

 3           In the context of § 2255 motions, “a judgment becomes final when the time has passed for

 4   appealing the district court’s entry of the judgment.” United States v. Colvin, 204 F.3d 1221,

 5   1222 (9th Cir. 2000). Defendant’s judgment of conviction was entered by the court on December

 6   12, 2017. (Doc. No. 207.) Pursuant to Federal Rule of Appellate Procedure 4(b)(1)(A),

 7   defendant thereafter had fourteen days to file her notice of appeal. Defendant did not appeal from

 8   her conviction and sentence. Thus, defendant’s judgment of conviction became final on

 9   December 26, 2017. Accordingly, her deadline for filing a § 2255 motion expired on December

10   26, 2018. Defendant filed the pending motion on March 27, 2019, three months after the one-

11   year statute of limitations had expired. (Doc. No. 338.)

12           Because the pending motion was filed after the applicable one-year statute of limitations

13   expired and because defendant has not argued, let alone established, that she is entitled to

14   equitable tolling of that statute of limitations, the court finds that the pending § 2255 motion is

15   time barred.

16   B.      It Plainly Appears from the Motion and the Record that Defendant Galvan is Not

17           Entitled to Relief

18           Although defendant’s motion is untimely, the court will nevertheless address the

19   substance of her claims because the gravamen of the pending motion is that she was not

20   competent at or around the time she entered her plea and at the time of her sentencing.
21           In this regard, defendant contends that she “was heavily medicated at the time of [her]

22   sentencing and did not know how to appeal [her] case.” (Doc. No. 338 at 4.) She argues that she

23   was denied a psychiatric evaluation before she signed her plea agreement, and that she therefore

24   “had little knowledge of [her] case and [her] attorney[s] failed to explain things to [her] . . ..” (Id.

25   at 5.) At bottom, defendant claims that “[her] mental state at that time did not comprehend the

26   court and sentencing situation.” (Id.)
27   /////

28   /////
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 1          As the Ninth Circuit has explained,

 2                  [w]hen a § 2255 petitioner’s claim of incompetence due to the
                    ingestion of drugs is conclusory or inherently incredible, a district
 3                  court has the discretion to dismiss the petition without a hearing.
                    When the allegations move beyond bald, conclusory or incredible
 4                  assertions, however, a hearing is required unless the petition, files
                    and record conclusively demonstrate that the petitioner was
 5                  competent to plead guilty. Specific, credible evidence that an
                    individual was under the influence of powerful narcotic drugs
 6                  suffices to move a claim beyond a bald assertion of incompetence.
 7   United States v. Howard, 381 F.3d 873, 879 (9th Cir. 2004). “The burden [i]s on [the defendant]

 8   to establish that he was mentally incompetent at the time of his plea and sentence.” Mealer v.

 9   United States, 383 F.2d 849, 850 (9th Cir. 1967).

10          Here, defendant Galvan has offered no argument, analysis, or evidence in support of her

11   assertion that she was not competent at either the time of her entry of her guilty plea and/or at the

12   time of her sentencing. Cf. Howard, 381 F.3d at 879–80 (finding that the defendant “move[d]

13   [his] claim beyond a bald assertion of incompetence” because he alleged he was taking a strong

14   medication at the time of his plea hearing which caused him to be “so befuddled he was unable to

15   count, was ‘incoherent’ and ‘almost devoid of sensible meaning’ in his speech, was not ‘in full

16   possession of his mental faculties,’ was ‘narcoticized’ and ‘did not fully understand the nature

17   and consequences of his agreement’”). Moreover, the record in this case reflects that defendant

18   Galvan was competent at the time she entered her plea and at her sentencing, notwithstanding her

19   use of prescription medications. Specifically, prior to accepting her guilty plea, the court had the

20   following exchange with defendant:
21                  THE COURT: Have you been treated for mental illness?
22                  THE DEFENDANT: Yes, I have.
23
                    THE COURT: Are you currently undergoing treatment?
24
                    THE DEFENDANT: Yes, I am.
25
                    THE COURT: Are you on prescription drugs of any kind in
26                  connection with that treatment?
27                  THE DEFENDANT: Yes, I am.
28
                                                         5
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 1                  THE COURT: What drugs are those?
 2                  THE DEFENDANT: I don’t have the name offhand on me.
 3                  THE COURT: Alright. Do they affect your ability to think clearly?
 4
                    THE DEFENDANT: I need to take them for me to think right.
 5
                    THE COURT: Alright. Are you currently --
 6
                    THE DEFENDANT: I’m on medication right now, yes, I am.
 7
                    THE COURT: And do you feel that, given the fact that you are on
 8                  medication for your mental health, that you are, in fact, thinking
                    clearly as we stand here today?
 9
                    THE DEFENDANT: Yes, I am. Yes.
10

11   (Doc. No. 346 at 6–7.) Later in the plea colloquy, the court asked:
12
                    THE COURT: Alright. I’m a little bit concerned about the response
13                  to the question about respect to addiction to drugs. Ms. Galvan, are
                    you nervous this morning?
14
                    THE DEFENDANT: Yes, I am. Very nervous.
15
                    THE COURT: Alright. Relax. This isn’t –
16
                    THE DEFENDANT: Okay.
17

18                  THE COURT: Take a deep breath. Is there any doubt in your mind
                    that you fully understand today’s proceedings?
19
                    THE DEFENDANT: Yes, I understand. I do. I’m just nervous.
20
                    THE COURT: Okay. That’s alright. That’s understandable. And
21                  do you feel that you’re thinking clearly and understand what you’re
                    doing here today?
22
                    THE DEFENDANT: Yes, I do. I do.
23

24                  THE COURT: Any doubt about that?

25                  THE DEFENDANT: No. No doubt at all.

26                  THE COURT: Alright. And counsel, do either of you have a doubt
                    as to Ms. Galvan’s competence to enter her plea at this time?
27

28   /////
                                                      6
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 1                  MR. FOGDERUDE: Your Honor, on behalf of the defense, I do not
                    have any doubt.
 2
                    MS. ALSWORTH: No, Your Honor.
 3

 4                  THE COURT: I find Ms. Galvan competent to enter a plea at this
                    time.
 5

 6   (Id. at 8–9.) Immediately after finding defendant Galvan competent, the court asked her whether

 7   she had discussed her decision to enter a plea of guilty with her attorney and she answered that

 8   she had and that she was satisfied with her attorney’s representation. (Id. at 9.)

 9          At defendant Galvan’s sentencing, the court asked defense counsel whether he had an

10   opportunity to discuss the presentence report with defendant in detail and he responded that he

11   had. (Doc. No. 347 at 4.) The court then asked defendant Galvan whether she had reviewed the

12   presentence report and had an opportunity to discuss it with her attorney and she responded that

13   she had. (Id.) At no point during her sentencing hearing did defendant or her counsel indicate to

14   the court that she was not of sound mind or that she was “heavily medicated,” nor did defendant

15   or her counsel inform the court at sentencing that she was not of sound mind when she entered

16   her plea over three months earlier.

17          Based on the foregoing, the court finds defendant has not carried her burden of

18   establishing that she was mentally incompetent at or around the time she entered her plea and at

19   sentencing. Accordingly, the court will also deny defendant’s motion on that basis.3

20          Defendant’s remaining arguments in seeking § 2255 relief are also unavailing. With

21   respect to her contention that her counsel at sentencing was ineffective, defendant Galvan merely

22   argues in conclusory fashion that “[her] attorney never advised [her] or even mentioned an appeal

23   to [her].” (Doc. No. 338 at 4) Although she concedes that “[she] did sign a plea agreement,” she

24
     3
       The court also finds that an evidentiary hearing to determine whether defendant Galvan was
25   competent at or around the time she entered her plea and at the time of her sentencing is not
26   warranted. Cf. Howard, 381 F.3d at 881 (“The record reveals that Howard was under the
     influence of a powerful narcotic drug that could have affected his cognition; the only question is
27   whether it actually did. That he could have been rendered incompetent, and specifically and
     credibly claims to have been so, is sufficient to tip the scales in favor of an evidentiary hearing on
28   this aspect of his claim.”).
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 1   contends that she did so “for four years with the old attorney,” but that “[her] new attorney

 2   representing [her] at [her] sentencing [] failed to mention that to the Judge and [she] was

 3   sentenced to 4 years 9 months instead.” (Id. at 5.)4

 4          Defendant’s arguments are belied by the record in this case, which demonstrates that she

 5   was advised of her appellate and collateral attack rights, that she knowingly waived those rights,

 6   that she understood each of the terms of her plea agreement, and that she was satisfied with her

 7   counsel’s representation at the time she entered her plea of guilty. Under these circumstances,

 8   and absent any evidence or persuasive argument to the contrary, defendant Galvan has not met

 9   her burden of establishing that either of her attorneys provided her with constitutionally

10   ineffective assistance. See Strickland v. Washington, 466 U.S. 668, 687 (1984) (“A convicted

11   defendant’s claim that counsel’s assistance was so defective as to require reversal of a conviction

12   or death sentence has two components. First, the defendant must show that counsel’s

13   performance was deficient. . . . Second, the defendant must show that the deficient performance

14   prejudiced the defense.”).

15          Next, defendant’s claim that her sentence in this action was too harsh is not cognizable

16   because she knowingly and voluntarily waived her right to challenge her sentence. (See Doc. No.

17   144 at 3–4); see also United States v. Abarca, 985 F.2d 1012, 1014 (9th Cir. 1993) (“A knowing

18   and voluntary waiver of a statutory right is enforceable.”) (citing United States v. Navarro–

19   Botello, 912 F.2d 318, 321 (9th Cir.1990)).

20          Finally, defendant Galvan notes that she is taking medication for various “medical and
21   mental disorders,” that she utilizes a walker, and has carpal tunnel in both hands. (Doc. No. 338

22   at 5.) She therefore asks the court for “a reduction in sentence due to [her] Medical condition.”

23   (Id. at 7.) It appears that in advancing these arguments defendant may be seeking compassionate

24   release pursuant to 18 U.S.C. § 3582(c)(1)(A), which authorizes a court to reduce a defendant’s

25
     4
26     As noted above, on August 28, 2017, defendant Galvan entered her plea of guilty pursuant to a
     written plea agreement. (Doc. Nos. 144, 166, 174 & 176.) Thereafter, on October 30, 2017, the
27   court granted her appointed counsel’s motion to withdraw as counsel of record. (Doc. No. 194.)
     New counsel was appointed to represent the defendant on November 2, 2017 (Doc. No. 195), and
28   defendant was sentenced on December 11, 2017. (Doc. No. 206.)
                                                      8
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 1   term of imprisonment if, among other reasons, it finds extraordinary and compelling reasons

 2   warranting such a reduction. Compassionate release pursuant to § 3582 requires that a defendant

 3   first exhaust her administrative remedies by requesting compassionate release from the warden of

 4   her facility prior to filing her motion with the court. 18 U.S.C. § 3582(c)(1)(A).

 5          Setting aside the fact that defendant appears to assert a request for her compassionate

 6   release in the pending § 2255 motion, rather than in a separate motion properly brought pursuant

 7   to 18 U.S.C. § 3582, her compassionate release request will nevertheless be denied. As an initial

 8   matter, defendant does not allege that she requested compassionate release from the warden at her

 9   prison of confinement or that she otherwise complied with the administrative exhaustion

10   requirements of § 3582. Moreover, while the medical condition of a defendant may warrant the

11   granting of compassionate release by the court where the defendant “is suffering from a terminal

12   illness (i.e., a serious and advanced illness with an end of life trajectory),” U.S.S.G. § 1B1.13,

13   cmt. n.1(A)(i), here, defendant does not argue that her medical conditions are serious, much less

14   that she is unable to manage her conditions and provide for self–care while incarcerated. Indeed,

15   even “[c]hronic conditions that can be managed in prison are not a sufficient basis for

16   compassionate release.” United States v. Ayon-Nunez, No. 1:16-cr-00130-DAD, 2020 WL

17   704785, at *3 (E.D. Cal. Feb. 12, 2020).

18                                              CONCLUSION

19          For the reasons set forth above, defendant Galvan’s motion to vacate, set aside, or correct

20   her sentence pursuant to 28 U.S.C. § 2255 (Doc. No. 338) is denied. The Clerk of the Court is
21   also directed to administratively terminate the government’s filing (Doc. No. 352) styled as a

22   “motion to dismiss.”

23   IT IS SO ORDERED.
24
        Dated:     October 11, 2020
25                                                      UNITED STATES DISTRICT JUDGE

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